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IN THE UNITED STATES DISTRICT COURT |
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

NO. i
3 .23CR0248 -M

FILED UNDER SEAL

UNITED STATES OF AMERICA
V.
AMBREEN KHAN
INDICTMENT
The Grand Jury charges:
At all times material to this indictment:
General Allegations

L The Coronavirus Aid, Relief, and Economic Security (“CARES”) Act was
a federal law enacted on or about March 27, 2020, to provide emergency financial
assistance to Americans suffering economic harms from the COVID-19 pandemic. To
achieve this goal, the CARES Act established new temporary programs and expanded
existing programs administered by the United States Small Business Administration
(“SBA”).

The Paycheck Protection Program

2. One source of relief provided by the CARES Act was the authorization of
forgivable loans to small businesses for job retention and certain other expenses, through
a program referred to as the Paycheck Protection Program (“PPP”). Businesses could

apply for PPP loans by submitting a PPP loan application known as a SBA Form 2483.

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3. The PPP loan application required that businesses acknowledge, through
authorized representatives, the program rules and make certain affirmative certifications
to be eligible to obtain the PPP loan. In the PPP loan application, businesses, through
authorized representatives, were required to state their: (a) average monthly payroll
expenses; and (b) number of employees. These figures were used to calculate the amount
of money the applicant businesses were eligible to receive under the PPP. In addition,
businesses were required to provide documentation evidencing their payroll expenses.
Typically, businesses would supply documents showing the amount of payroll taxes
reported to the United States Internal Revenue Service (“IRS”).

4. A PPP loan application was processed by a participating lender or the
participating lender’s designee. If a PPP loan application was approved, the lender
funded the PPP loan using the lender’s money and the loan was fully guaranteed by the
SBA. Data from the loan application, including information about the borrower, payroll
expenses, and the total amount of the loan, were transmitted by the lender to the SBA in
the course of processing the loan.

5. PPP loan proceeds were required to be used by the business on certain
permissible expenses, that is, payroll costs, interest on mortgages, rent, and utilities. The
PPP allowed the interest and principal on the PPP loan to be entirely forgiven if the
business spent the loan proceeds on permissible expense items within a designated period

of time and used a defined portion of the PPP loan proceeds on payroll expenses.

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The Defendant and Relevant Entities

 

6. Defendant Ambreen Khan was an individual purportedly operating as a
business.

7. L.K. Industries, Inc. (“L.K. Industries”) was a purported metal recycling
business.

8. Company | was a company with servers located in Richardson, Texas, in

the Northern District of Texas, that provided an electronic signature service that allowed
users to digitally sign documents using its online platform.

9. Carter Federal Credit Union, also known as Carter Credit Union (“Carter
FCU”), was a financial institution as defined in 18 U.S.C. § 20, whose depositors’
accounts were insured by the National Credit Union Share Insurance Fund. Carter FCU

participated in the PPP as an approved SBA third-party lender.

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Count One
Wire Fraud
[18 U.S.C. § 1343]
10. Paragraphs | through 9 of this indictment are realleged and incorporated by

reference as though fully set forth herein.

The Scheme to Defraud

 

11. From on or about April 1, 2020, through on or about May 31, 2021,
defendant Ambreen Khan sought to unlawfully enrich herself by, among other things,
submitting and causing the submission of a false and fraudulent application for a PPP
loan, and to thereafter seek forgiveness of the PPP loan.

12. It was part of the scheme that on or about April 29, 2020, defendant
Ambreen Khan submitted, and caused to be submitted, to Carter FCU a PPP loan
application that falsely described Khan’s average monthly payroll.

13. It was further part of the scheme that as part of her PPP loan application,
defendant Ambreen Khan submitted, and caused to be submitted, fraudulent IRS forms
that falsely described Khan’s purported 2019 business income from L.K. Industries,
when in fact Khan received no payments in 2019 from L.K. Industries.

14. Thereafter, Carter FCU approved Khan’s PPP loan application.

15. On or about May 19, 2020, defendant Ambreen Khan caused Carter FCU
to deposit approximately $21,849 in fraudulently obtained PPP loan proceeds into a bank
account controlled by Khan.

16. — It was part of the scheme that on or about May 5, 2021, defendant

Ambreen Khan submitted, and caused to be submitted, to Carter FCU an application

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seeking to have her PPP loan forgiven. Khan digitally signed the loan forgiveness
documentation.

17. Onor about May 5, 2021, personnel at Carter FCU approved defendant
Ambreen Khan’s loan forgiveness application. Carter FCU personnel digitally signed
the loan forgiveness approval. The loan forgiveness approval signed by Carter FCU
personnel was transmitted via wire to Company 1’s servers in the Northern District of
Texas.

18. Onor about May 12, 2021, Carter FCU forgave defendant Ambreen
Khan’s PPP loan. Thereafter, Carter FCU obtained reimbursement for the loan from the

SBA.

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The Charge

19. On or about May 5, 2021, in the Northern District of Texas and elsewhere,
the defendant, Ambreen Khan, for the purpose of executing and in furtherance of the
aforesaid scheme and artifice to defraud, and to obtain money and property by means of
materially false and fraudulent pretenses, representations, and promises, knowing that the
pretenses, representations, and promises were false and fraudulent when made, did
knowingly cause to be transmitted in interstate commerce, by means of wire
communication, certain writings, signs, signals, pictures and sounds, that is, loan
forgiveness documentation from Carter FCU in Louisiana to Company I’s servers in the
Northern District of Texas.

All in violation of 18 U.S.C. § 1343.

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Forfeiture Notice
[18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c)|

20. The allegations of this indictment are hereby re-alleged and by this
reference fully incorporated herein for the purpose of alleging forfeiture to the United
States of America of certain property in which the defendant Ambreen Khan has an
interest.

21. Upon conviction for the offense alleged in Count One of this indictment
and pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c), defendant Ambreen
Khan shall forfeit to the United States of America any property constituting, or derived
from, proceeds obtained directly or indirectly as a result of the offense.

22. If any of the property described above, as a result of any act or omission

of the defendant:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;

G has been placed beyond the jurisdiction of the court;

d. has been substantially diminished in value; or

e. has been commingled with other property which cannot be divided without
difficulty,

the United States of America shall be entitled to forfeiture of substitute property pursuant
to 21 U.S.C. § 853(p), as incorporated by 28 U.S.C. § 2461(c).
23. The above-referenced property subject to forfeiture includes, but is not

limited to, a “money judgment” constituting the gross proceeds traceable to the offense.

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A TRUE BILL:

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FOREPERSON |
 

 

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

 

THE UNITED STATES OF AMERICA

AMBREEN KHAN

 

SEALED INDICTMENT
18 U.S.C. § 1343
Wire Fraud
(Count 1)

18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c)
Forfeiture Notice

1 Count

 

A true bill rendered

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DALLAS FOREPERSON

 

Filed in open court this LU day of June, 2023.

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UNITED STATES MAGISTRATE J UDGES
No Criminal Matter Pending

 

 
